          Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 1 of 44 PageID 616
[MOBE Support] Re: Congratulations on enrolling In the Silver Mas-.



         Subject: (MOBE Support] Re: Congratulations on enrolling In the Silver Masterclass I
         From: "MOBE Support - Min (MOBE Support)" <support@mobesupport.zendesk.com>
         Date: 8/21/2017 1:55 AM
         To: Dorothy Patterson <

                                                      # Please type vour reply above this line #

                                   Ticket'305728; congn11u1aUonaon IIJPllnqintt1e Blfver Mastarc1m1
            Your request (*.305728) h• been deemed eolved. To reopen, reply to this email or follow the link below:
            hltp://mobesupport.zend1i�1/hc/reguestsL�Ml..�


            MOBE Sut,port-Mln, Aug 21, 1:"5 .AM EDT:

            HI Dorothy,

            Congratulations on enrolling in the 'Silver Masterclass.'

           This is my premier program - reserved for my most dedicated students.
           The investment is much higher than my other programs, and for good reason.

            As a licensee, you'll now be able to market my products and sales funnels as
            your own, and will keep 9006 of the up front sales price. You will also receive
            up to $1,250 for EACH backend sale that my team closes for you.

            Right now, my team Is on standby, ready to get you completely set up.

           But first, I need you to complete the Silver Masterclass agreement, and send it
           back to me.

           Basically, It oudines the agreement, and proteas your rights, and mine.

           You can access the agreemen.t online (using the link below). Simply fill out
           the form and then hit the "submit" button at the bottom of the agreement.

           Then, my team will go ahead and get you set up with your training and give you
           access to the entire Sliver Masterclass program as well as the MOBE Marketing System.

           Click the link below NOW to complete the agreement:

           https: //wwwJ .mobe.com/agreements/agreement silver gold.php?cid= 1081217

           Next, I need you to verify your shipping address ..•

           Here's what I have on file:

           Address:-


                                                                                                              Patterson Exhibit B
1 of2                                                                                                                    1/9/201811:49 AM
                                                        - --      PX
                                                                   --12
                                                                      ··--------------------
                                                                               FTC-MOBE-000522
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                                  PX 12                  FTC-MOBE-000523
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                                  PX 12                  FTC-MOBE-000524
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                                  PX 12                  FTC-MOBE-000525
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                                  PX 12                  FTC-MOBE-000526
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 6 of 44 PageID 621




                                  PX 12                  FTC-MOBE-000527
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 7 of 44 PageID 622




                                  PX 12                  FTC-MOBE-000528
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 8 of 44 PageID 623




                                                              Patterson Exhibit D

                                  PX 12                  FTC-MOBE-000529
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 9 of 44 PageID 624




                                                              Patterson Exhibit E

                                  PX 12                  FTC-MOBE-000530
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 10 of 44 PageID 625




                                  PX 12                   FTC-MOBE-000531
        Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 11 of 44 PageID 626
[MOBE Support] Re: cane) membership and get money back



        Subject: (MOBE Support] Re: canel membership and get money back
        From: "MOBE : Refunds Team (MOBE Support)° <support@mobesupport.zendesk.com>
        Date: 11/22/2017 3:21 AM
        To: Dorothy Patterson<�

                                                        # Please type your reply above this line#

                                              ncket#308570! canel membership and getmoneyback

           Your request (#308570) has been deemed solved. To reopen, rep ly to this ematr or follow the link below:
           http://mobesupport.z endesk.com/hc/r eguests/308570


           MOBE: � T.am, Nov 2Z 4:21 PM -tOB:

           Good Day,

           Dear Dorothy, Just to let you know that we have tried to process your refund of $3009 to your
           credit card but the request was rejected. Unfortunately, the Payment Gateway can reject these
           transactions for a number of reasons that are beyond our control. In these instances, we need
           to make the refund by direct payment. If you have an e-wallet account and would prefer the
           refund to be paid into there then we can do that; please just provide us with your account
           details. Otherwise, we need to make the refund payment via wire transfer to your bank account
           in which case we need you to complete the attached form and return It to me (all documents
           will be treated strictly as private and confidential). We will action payment to your account as
           soon as we receive the required information.

           We apologize sincerely for the delay in processing your r:efund and hope to get it closed out
           ASAP. In the meantime, If you need anything else please let me know,

           best regards,
           kartik,
           refund team, MOBE LTD.


           Altachment(s)
           MOSE.Ltd. Bank Wire.Transfer Form.docx


           Dorcthy Patterson, Sep 18, 8:12 PM +08:

           I put In a request on August 29 (Request #30.!!ZQ). I have made phone
           calls to support, and I still ha-le had no response from Jenn Bean who
           supposedly has been assigned to handle this matter. l don, ooderstand
           what is taking so long. I would appreciate an immediate response to this.

           If I do not hear anything In the next week, I wiN report it to the BBB
           and will dispute the charge on my credit card.

           Please take care Of this matter.

                                                                                                              Patterson Exhibit F

                                                                    PX 12
1 of2                                                                                                                    1/9/201811:4SAM

                                                                                                       FTC-MOBE-000532
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 12 of 44 PageID 627




                                  PX 12                   FTC-MOBE-000533
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 13 of 44 PageID 628



                          DECLARATION OF WILLIAM WEYLAND
                              PURSUANT TO 28 U.S.C. § 1746

        My name is WiUiam Weyland, I am over 18 years old. I have personal knowledge of the

 facts stated below. If called as a witness, I could and would testify as follows:

     1. In 2015, I was contacted by a company called MOBE about a program that would teach

        you how to make money on the internet. There were 21 steps to the program.

    2. After I signed up, I was assigned a coach, and I would go over the 21 steps with my

        coach. There were also daily ''power up calls" which were short pitches about how to

        stay in the proper mindset and how to make money.

    3. As I went through the program, there were other products that my coach convinced me to

        buy that would help me make money through MOBE.

    4. The sales pitches kept showing me all these other people that had made a lot of money

        through MOBE. I remember them telling me that ifl joined I would make a lot of

        money.

    5. I am on social security, and I didn't have a lot of money to spend, but these sales pitches

        convinced me to invest.

    6. On September 30, 2015, I spent $26,664 on the platinum membership.

    7. After buying the platinum membership, I also spent aroWid $10,000 on other programs.

    8. After I had been working through the 21 steps and participating on the daily power calls,

        I spent $650 to buy 600 leads. MOBE told me that lwas buying the contact information

        of 600 people that were interested in the MOBE program. MOBE told me that the

        MOBE team would try to make sales to these people and I would earn commission on

        any sales they made.



                                             Page 1 of2


                                            PX 13                          FTC-MOBE-000534
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 14 of 44 PageID 629



     9. Although I purchased the 600 leads, the MOBE team wasn't able to make a single sale

         from the leads I bought.

     10. I eventually quit the program because I couldn't afford to spend any more money on

         buying leads. I invested tens of thousands of dollars and never made any money through

         the program.

  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on / / /go/-2.-0t
                   , r          i
                                 7· 2017 in Morristown, Tennessee.

 &.ll~




                                             Page 2 of2


                                             PX 13                             FTC-MOBE-000535
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 15 of 44 PageID 630




                                  PX 14                   FTC-MOBE-000536
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 16 of 44 PageID 631




                                  PX 14                   FTC-MOBE-000537
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                                  PX 14                   FTC-MOBE-000538
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                                  PX 14                   FTC-MOBE-000539
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                                  PX 14                   FTC-MOBE-000540
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                                  PX 14                   FTC-MOBE-000541
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 21 of 44 PageID 636




                                 Exhibit A




                                  PX 14                   FTC-MOBE-000542
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                                  PX 14                   FTC-MOBE-000543
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                                  PX 14                   FTC-MOBE-000544
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                                  PX 14                   FTC-MOBE-000546
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 26 of 44 PageID 641




                                 Exhibit B




                                  PX 14                   FTC-MOBE-000547
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 27 of 44 PageID 642




                                  PX 14                   FTC-MOBE-000548
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                                  PX 14                   FTC-MOBE-000549
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                                 Exhibit C




                                  PX 14                   FTC-MOBE-000550
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 30 of 44 PageID 645




                                  PX 14                   FTC-MOBE-000551
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 31 of 44 PageID 646




                                  PX 14                   FTC-MOBE-000552
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                                  PX 14                   FTC-MOBE-000553
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                                 Exhibit D




                                  PX 14                   FTC-MOBE-000554
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 34 of 44 PageID 649




                                  PX 14                   FTC-MOBE-000555
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                                  PX 14                   FTC-MOBE-000556
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                                 Exhibit E




                                  PX 14                   FTC-MOBE-000557
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                                  PX 14                   FTC-MOBE-000560
Case 6:18-cv-00862-RBD-DCI Document 3-28 Filed 06/04/18 Page 40 of 44 PageID 655




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


    Federal Trade Commission,
                                            Case No. ____________
          Plaintiff,
                                            FILED UNDER SEAL
          v.

    MOBE Ltd., et al.,

          Defendants.



              PLAINTIFF’S EXHIBITS TO EX PARTE MOTION AND
           MEMORANDUM OF LAW IN SUPPORT OF A TEMPORARY
             RESTRAINING ORDER AND ORDER TO SHOW CAUSE
            WHY A PRELIMINARY INJUCTION SHOULD NOT ISSUE




                                   VOLUME II-A
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    PX 20 Declaration of Reeve Tyndall .................................................................................561

    PX 21 Declaration of Emil George ....................................................................................673

    PX 22 Declaration of Carol Jones (Exhibits A – K) ..........................................................685
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                                  PX 20                   FTC-MOBE-000562
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                       Exhibit A




                                  PX 20                   FTC-MOBE-000563
